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                      UNITED STATES DISTRICT COURT
                         DISTRICT OF CONNECTICUT


SANDRA FRAZIER,               :
                              :
     Plaintiff,               :
                              :
     v.                       :          CASE NO.    3:11cv1762(AWT)
                              :
APM FINANCIAL SOLUTIONS, LLC, :
                              :
     Defendant.               :


              MAGISTRATE JUDGE'S CERTIFICATION OF FACTS
        TO THE DISTRICT JUDGE PURSUANT TO 28 U.S.C. § 636(e)

     In November 2011, the plaintiff, Sandra Frazier, commenced

this action against the defendant, APM Financial Solutions, LLC,

alleging violation of the Fair Debt Collection Practices Act, 15

U.S.C. § 1692 and the Connecticut Unfair Trade Practices Act, Conn.

Gen. Stat. § 42–110g.     The defendant failed to answer or otherwise

appear.      In March 2012, the Clerk of the Court granted the

plaintiff's motion for entry of default.            (Doc. #9.)    In April

2012, the court (Thompson, J.) granted the plaintiff's motion for

default judgment and entered judgment against the defendant in the

amount of $6000.       The court further ordered that "[s]tatutory

interest shall accrue on the amount of judgment pursuant to Title

28 U.S.C. § 1961 from the date the judgment is entered."                (Doc.

#11.)     The case was closed.     Thereafter the plaintiff propounded

post-judgment discovery. When the defendant failed to respond, the

plaintiff filed a motion to compel, which the court granted. (Doc.

#15.)     The plaintiff now requests that the court adjudge the
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defendant in civil contempt1 for failing to comply with the court's

order to respond to post-judgment discovery or pay the judgment.

(Doc. #16.)

I.   Legal Standard

     A.      Civil Contempt

     "Whether imposed pursuant to Rule 37 or the court's inherent

power, a contempt order is . . . a potent weapon, to which courts

should not resort where there is a fair ground of doubt as to the

wrongfulness of the defendant's conduct."                  Southern New England

Telephone Co. v. Global NAPs Inc., 624 F.3d 123, 145 (2d Cir.

2010).    "A contempt order is warranted only where the moving party

establishes by clear and convincing evidence that the alleged

contemnor violated the district court's edict."                   King v. Allied

Vision,     Ltd.,   65   F.3d    1051,       1058    (2d   Cir.   1995).     "More

specifically, a movant must establish that (1) the order the

contemnor failed to comply with is clear and unambiguous, (2) the

proof of     noncompliance      is   clear     and    convincing,   and    (3)   the



     1
      There is "considerable confusion" regarding "the distinction
between civil and criminal contempt." Hubbard v. Fleet Mortgage
Co., 810 F.2d 778, 781 (8th Cir. 1987). "[W]hether a contempt is
civil or criminal turns on the 'character and purpose' of the
sanction involved." Int'l Union, United Mine Workers of Am. v.
Bagwell, 512 U.S. 821, 827 (1994) (quoting Gompers v. Bucks Stove
& Range Co., 221 U.S. 418, 441 (1911)). "The chief characteristic
of civil contempt is that its purpose is to compel obedience to an
order of the court to enforce the rights of the other party to the
action." In re Irving, 600 F.2d 1027, 1031 (2d Cir. 1979). "The
purpose of an order of criminal contempt, on the other hand, is
punitive. It is imposed to vindicate the court's authority." Id.

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contemnor has not diligently attempted to comply in a reasonable

manner."       Id.

       B.      Magistrate Judge's Authority Regarding Civil Contempt

       "While     district   courts   have   wide   discretion     in    imposing

sanctions for failure to comply with discovery orders . . . United

States magistrate judges have limited civil contempt authority."

Funnekotter v. Republic of Zimbabwe, No. 09 Civ. 08168(CM)(THK),

2011 WL 5517860, at *2 (S.D.N.Y. Nov. 10, 2011)(citation omitted).

"The       jurisdictional     limitations    placed     upon    United     States

magistrate judges, when addressing a motion for civil contempt, are

informed by the provisions of 28 U.S.C. § 636(e)."2              NXIVM Corp. v.

Bouchey,       No.   1:11–MC–0058(GLS/DEP),      2011   WL     5080322,    at   *3

(N.D.N.Y. Oct. 24, 2011).           "Under that section, in a case other

than one over which the magistrate judge presides with a consent of

the parties under 28 U.S.C. § 636(c), a magistrate judge is not




       2
      Section 636(e)(6)(B)(iii) provides that in civil, non-consent
cases, where an act constitutes a civil contempt,
     the magistrate judge shall forthwith certify the facts
     to a district judge and may serve or cause to be served,
     upon any person whose behavior is brought into question
     under this paragraph, an order requiring such person to
     appear before a district judge upon a day certain to
     show cause why that person should not be adjudged in
     contempt by reason of the facts so certified. The
     district judge shall thereupon hear the evidence as to
     the act or conduct complained of and, if it is such as
     to warrant punishment, punish such persons in the same
     manner and to that same extent as for a contempt
     committed before a district judge.

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authorized to issue a final contempt order."3 Id. (citing cases).

"Instead, the magistrate judge's function in a 'non-consent' case

is to certify facts relevant to the issue of civil contempt to the

district court." Id. (citing cases).                  "In certifying the facts

under Section 636(e), the magistrate judge's role is to determine

whether    the   moving   party    can       adduce    sufficient    evidence   to

establish a prima facie case of contempt." Toxey v. United States,

No. 10 CIV. 3339(RJH)(KNF), 2011 WL 4057665, at *2 (S.D.N.Y. Aug.

25, 2011 (quotation marks and citation omitted).               See Servaas Inc.

v. Republic of Iraq, No. 09 CIV. 1862(RMB), 2013 WL 5913363, at *2

(S.D.N.Y. Nov. 4, 2013) (same); see also Trustees of Empire State

Carpenters Annuity v. Duncan & Son Carpentry, Inc., No. 14–CV–2894,

2015 WL 3935760, at *3 (E.D.N.Y. June 26, 2015)("[T]he magistrate

judge functions only to certify the facts and not to issue an order

of contempt.").

     "The     district    court,   upon        certification    of    the   facts

supporting a finding of contempt, is then required to conduct a de

novo hearing at which issues of fact and credibility determinations



     3
      The 2000 amendments to § 636(e) expanded the contempt
authority that magistrate judges may exercise. Magistrate Judges
were given summary criminal contempt authority to punish
misbehavior occurring in their presence that obstructs the
administration of justice. 28 U.S.C. § 636(e)(2). They also were
granted criminal contempt and civil contempt authority in
misdemeanor cases and civil consent cases. 28 U.S.C. §§ 636(e)(3),
(4). See Federal Courts Improvement Act of 2000, Pub. L. No.
106-518, § 202, 114 Stat. 2410, 2412 (codified at 28 U.S.C. §§ 179,
613).

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are to be made."          Bowens v. Atlantic Maint. Corp., 546 F. Supp.2d

55,    71    (E.D.N.Y.       2008).        See   NXIVM     Corp.   v.    Bouchey,   No.

1:11–MC–0058,         2011     WL     5080322,      at    *4   (N.D.N.Y.     Oct.   24,

2011)(same).        "Whether the conduct of a party constitutes contempt

and any sanctions therefor are committed to the discretion of the

district court."             Church v. Steller, 35 F. Supp.2d 215, 217

(N.D.N.Y. 1999).

II.    Certification of Facts

       A.      Violation of the Court's Discovery Order

       The court construes plaintiff's motion for contempt as a

motion for certification of facts pursuant to 28 U.S.C. § 636(e).

On    the    record    before        the   court,    the    plaintiff     has   adduced

sufficient evidence to establish a prima facie case of contempt.

Accordingly, the undersigned certifies the following facts to the

district judge pursuant to 28 U.S.C. § 636(e)(6)(B)(iii):

       •     Judgment entered in favor of the plaintiff on April 25,

2012.       (Doc. #12.)

       •    After   the      court    entered    judgment,      the     plaintiff   sent

defendant post-judgment interrogatories seeking information about

defendant's income and assets in order to enforce the judgment.

The defendant did not respond.

       •    In July 2012, the plaintiff moved to compel the defendant

to respond to the discovery requests.                    (Doc. #13.)     The defendant

did not respond to the motion.               In August 2012, the court granted


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the motion absent objection or response of any kind.                     (Doc. #15.)

     •    In October 2012, the plaintiff filed a "Motion for Order to

Show Cause" why defendant should not be found in contempt for its

failure to pay the judgment or comply with the court's order that

it respond to post-judgment discovery.                   (Doc. #16.)         The court

(Thompson, J.) referred the motion to this Magistrate Judge. (Doc.

#17.)

     • In June 2013, the court granted the plaintiff's motion and

scheduled a hearing. The court ordered the defendant to appear and

to file a memorandum addressing the plaintiff's motion.                              The

plaintiff filed proof of service showing that the defendant had

been personally served with the court's order.                    (Doc. #18.)

     •    The    defendant        still    did   not   provide    responses     to   the

outstanding discovery requests.              Nor did the defendant comply with

the court's directive to file a memorandum in opposition to the

plaintiff's motion and to appear in court.

     "A district court clearly has discretion to impose contempt

sanctions       for    violations     of    post-judgment        discovery    orders."

Servaas Inc. v. Republic of Iraq, No. 09 CIV. 1862(RMB), 2014 WL

279507, at *2 (S.D.N.Y. Jan. 24, 2014); Export-Import Bank of

Republic of China v. Grenada, No. 06 CIV 2469(HB), 2010 WL 5463876,

at *1 (S.D.N.Y. Dec. 29, 2010) (same). See, e.g., Ferrara v.

Nordev,    LLC,       10   Civ.    5844(JFB)(WDW),      2012     WL   1999643   at    *2

(E.D.N.Y. Apr. 10, 2012) (an order of civil contempt is warranted


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"to coerce [defendants] into compliance with the post-judgment

discovery demands duly served on them . . . .").                Based on these

certified facts, the plaintiff has made her required showing to

demonstrate contempt.          The court's order granting the plaintiff's

motion    to    compel   the    defendant   to   respond   to    post-judgment

discovery is clear and unambiguous, the proof of defendant's non-

compliance is clear and convincing and the defendant was not

reasonably diligent in attempting to comply.           See Ferrara, 2012 WL

1999643 at *3 (certifying facts pursuant to 28 U.S.C. § 636(e)

where defendants failed to comply with post-judgment discovery);

State Farm Mut. Auto. Ins. Co. v. Cohan, No. CV 09-2990 (JS), 2010

WL 3000685, at *3 (E.D.N.Y. July 28, 2010)(same).

     B.        Failure to Pay Judgment

     The plaintiff also moves for an order adjudging defendant in

civil contempt for failure to pay the judgment.            (Doc. #16 at 1.)

Plaintiff cites as authority Fed. R. Civ. P. 70(e).4 (Doc. #24, tr.

at 9.)     That authority is inapposite.         Rule 70 governs judgments

that direct specific acts. 12 Charles Alan Wright, et al., Federal

Practice & Procedure § 3021 at 199 (3d ed. 2014)("The rule applies


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      Fed. R. Civ. P. 70 provides in relevant part:
     (a) Party's Failure to Act; Ordering Another to Act. If
     a judgment requires a party to convey land, to deliver
     a deed or other document, or to perform any other
     specific act and the party fails to comply within the
     time specified, the court may order the act to be done
     -- at the disobedient party's expense -- by another
     person appointed by the court. When done, the act has
     the same effect as if done by the party. . . .

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only if a judgment directs a party to execute a conveyance of land

or to deliver deeds or other documents or to perform any other

specific act and the party has failed to comply within the time

specified.") The judgment here is a money judgment. "[U]nless the

default judgment expressly directs performance of a specific act,

relief pursuant to Rule 70 is unavailable."          Dell, Inc. v. Advicon

Computer Services, Inc., No. 06-11224, 2008 WL 2157047, at *8 (E.D.

Mich. May 22, 2008).      "Pursuant to Federal Rule of Civil Procedure

69(a)(1), money judgments are enforced by entry of judgment and

writ of execution, not by a contempt order absent exceptional

circumstances. . . . While a court may hold a disobedient party in

contempt to enforce a judgment for a specific act pursuant to Rule

70, Rule 70's equitable remedies are not appropriate to enforce a

money judgment."      Nykcool A.B. v. Pacific Fruit Inc., No. 10 Civ.

3867(LAK)(AJP), 2012 WL 1255019, at *8 (S.D.N.Y. Aug. 16, 2012).

"[W]hen a party fails to satisfy a court-imposed money judgment the

appropriate remedy is a writ of execution, not a finding of

contempt."     Combs v. Ryan's Coal Co., 785 F.2d 970, 980 (11th Cir.

1986).    See Aetna Cas. & Sur. Co. v. Markarian, 114 F.3d 346, 349

(1st Cir. 1997)(same); Shuffler v. Heritage Bank, 720 F.2d 1141,

1148 (9th Cir. 1983)("[t]he proper means . . . to secure compliance

with a money judgment is to seek a writ of execution"); Jou v.

Adalian, No. 09–00226, 2015 WL 477268, at *1 (D. Haw. Feb. 5, 2015)

(same); 12 Charles Alan Wright, et al., Federal Practice and


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Procedure § 3011 at 168 (3d ed. 2014) ("[A] money judgment is not

a personal order to the defendant that is enforceable by contempt

. . . .").      The court declines to certify facts pursuant to 28

U.S.C. § 636(e) as to defendant's failure to pay the judgment.

III. Conclusion

     For these reasons, the undersigned magistrate judge certifies

facts pursuant to 28 U.S.C. § 636(e)(6) as to the defendant's

failure to comply with the court's discovery order.          The plaintiff

shall   serve   the   defendant    with   a   copy   of   this   Order   and

Certification of Facts.

     SO ORDERED at Hartford, Connecticut this 9th day of December,

2015.

                                   ___________/s/________________
                                   Donna F. Martinez
                                   United States Magistrate Judge




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